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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF FLORIDA

JEREMY B. HALES,                      :                    Civil Action No.:
                                      :                    1:24-CV-00045-AW-ZCB
           Plaintiff,                 :
     v.                               :
                                      :
LYNETTE MICHELLE LACEY ALEXIS PRESTON :
and                                   :
JOHN COOK,                            :
                                      :
           Defendants                 :


                            RESPONSE TO SHOW CAUSE ORDER (# 128)

         The undersigned hereby responds to the Court’s order, Doc # 128, to “show

  cause as to why the Court should not exercise its inherent authority and sanction him

  for failing to appear.”

         There is no question that the Court should sanction the undersigned for not

  appearing April 3. The undersigned’s reasons for not appearing on April 3 are not an

  excuse for disobeying the Court’s order but were his explanation for not being able to

  leave his family and practice.

         The trip itself would have been financially crippling for the undersigned by taking

  him away (for the second time in this case) from his law practice for several days, and it

  would have left his family at a time when he was needed by them. He also feared for

  his safety, with the plaintiff and a number of other YouTube channels sensationalizing

  the April 3 hearing1 and some of his zealous followers vowing to attend in person (he


  1
   One close associate of the plaintiff, lawyer/YouTuber “The DUI Guy & Buckle Up,” traveled
  with his fiancée from Kentucky to “cover” it for his YouTube channel of a half million subscribers.
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paid for a security escort on December 19, $700). The undersigned was also fearful of

being involuntarily videotaped and photographed for YouTube content for the plaintiff

and other channels profiting from their coverage by mocking/defaming the undersigned.

       Notwithstanding these explanations, a Court’s lawful orders cannot be open to

lawyers’ subjective determinations of whether their reasons for disobeying are

excusable. The undersigned will not attempt to argue he should not be sanctioned,

because he doesn’t believe that.

       However, the undersigned and his clients believe it is relevant to the Court’s

determination of the nature and degree of sanctions, how he came to be in this position

and the toll this case has exacted on him, his wife, his practice, and his life due to the

conduct of the plaintiff outside of the litigation and of his counsel in it.



       The undersigned volunteered to help indigent involuntary defendants
       fight back against being targeted on YouTube, in person and in court.

       It would be impossible, in a single filing, to fully show the extent to which the

plaintiff has made defendants Preston and Cook into (A) involuntary characters in his

YouTube “Bad Neighbors” storyline (see Exhibit 1, a sampling of the over 200 videos

using the defendants for income-generating content since May 2023); (B) involuntary

subjects of physical stalking in their daily lives (see Exhibit 2, a compilation of the

plaintiff stalking the defendants and making content from it, including filming over the

defendants’ privacy fence that was installed to prevent this); and (C) involuntary litigants

in this and several other courts (see Exhibit 3, some of the dozens of “court update”

videos). It is also impossible to show the full extent and effects of the plaintiff’s targeting

of the undersigned and his family to make YouTube content for entertainment and profit.

                                                2
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       Since May of 2023, the plaintiff has propagated a “Bad Neighbors” storyline on

his YouTube platform targeting Preston, Cook and Preston’s now five-year-old

daughter. The content generated from the “Bad Neighbors” saga, especially litigation-

related content, is a major source of income for the plaintiff.

       In April-May of 2024 the undersigned watched the plaintiff on his YouTube videos

boasting about suing his neighbors (Preston and Cook) to take their land, that they have

no money and would be defenseless in federal court to stop him, and they would never

find a lawyer to help them. On May 28, 2024, the plaintiff updated his 700,000+

YouTube subscribers about this and other legal actions against the defendants and his

plans to use the present action to take their property, in a video titled “Bad Neighbors In

Court Again”:2

             Lie-nette and Crook are headed back to court not just in Ohio[ 3] not just in
    Florida in the federal and the county but also in Family Court.
             ***
             In court so we have how many court cases right now we've got they were in
    Ohio court for contempt of court they've been found guilty for contempt of court now
    they're going back as a matter of fact we have filed they will be served here soon
    and we are mandating we are asking the courts to mandate they must be there in
    person they have to show and if they don't show then there can be a warrant for their
    arrest now there are those are going to say that Florida won't extradite them to Ohio.
             ***
             so there are a lot of different questions around the federal case uh what's
    happening there well depositions are going to be happening here within the next
    month Crook and Linette will have multiple days in Gainesville in the federal court it
    will will not be via Zoom even though it all be recorded and others will be deposed
    and mandated as well or they will be in contempt of court

2
 This excerpt spans the first six minutes & 40 seconds of the video at this link:
https://www.youtube.com/watch?v=A4VBI_3BRB8.
3
  This is a reference to the plaintiff having obtained a protective order in an Ohio state court
against Preston and Cook for events allegedly occurring in Florida and despite Preston and
Cook never having been to Ohio. The plaintiff uses it to constantly threaten Preston and Cook
with contempt filings in Ohio based on “violations” he openly admits on YouTube to machinating
for this purpose. See Doc # 123-1. One example is depicted here:
https://drive.google.com/file/d/1Ix2Aabdb9A5vaVQBYW2-KWATmd8VMTPT/view?usp=sharing


                                                 3
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            Russell Meek senior Mara Hughes and others just to name a few Amanda
    Martin her son rat Cunningham and I could go on and on it's going to be a lot of
    depositions it's going to be a lot of video footage[4] and no doubt it's going to be very
    very funny and at the same time these are serious issues because they've tried to
    extort me they've tried to defame me
            and but that's not the only thing that's happening right now the adoption
    records are being unsealed it's being challenged within the family courts [5]
            ***
            what I want is to go into federal court and here's the funny thing the funny
    thing is there are those out there that would go it's Florida you can't take property in
    Florida yeah federal courts can and will seize property and it will go up for auction
    you want to guess who the highest bidder is going to be because all of the funds are
    going to go to me anyway.


       Several other YouTube channels were one-sidedly propagating the plaintiff’s

“Bad Neighbors” storylines about Preston and Cook6 and profiting from the content,

whereas none were offering any information or analysis from the perspective of the

neighbors being targeted. The undersigned began to contact channels covering the

story offering to give an alternative view of what the plaintiff was doing from a legal

standpoint.7 All such offers were ignored and led to the undersigned’s emails to these


4
  Videotaping depositions was precluded (Doc # 41) after the defendants moved (Doc # 38) to
prevent them from being broadcast on YouTube. The plaintiff ended up taking only two
(including Amanda Martin), demonstrating that the foiled purpose was to create video content.
5
  This refers to an “emergency custody petition” the plaintiff was involved in orchestrating,
generating months of YouTube content from a “Save Harley Grace” (Preston’s child) storyline
that was used to terrorize Preston about potentially having her child removed from her custody.
See Doc # 123-1.
6
 I.e., they are crazy, they live in squalor, they “stalked me to Otter Creek to extort me,” they are
drug addicts and alcoholics, they abuse Preston’s child, the child is nonverbal and not potty-
trained, their property is unsafe, Preston’s adoption was to use the child for government
benefits, and all manner of other defamation.
7
   At the time, there was an extended, months-long “Grudge Judge” storyline targeting Levy
County state court Judge Craig DeThomasis who was presiding in a restraining order action
filed by Preston against the plaintiff for stalking. Several of the YouTube channel hosts mocking
Judge DeThomasis and calling him “biased” and “incompetent” were practicing lawyers profiting
from the storyline. One is a current close associate of the plaintiff who was present during the
April 3 hearing, having promoted the event and traveled with his fiancée from Kentucky to
“cover” it for his YouTube channel of a half million subscribers, “The DUI Guy & Buckle Up.”
                                                  4
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YouTube hosts being doxed by them, mocking and attacking the undersigned for

stepping in on behalf of the “bad neighbors.”

        During this period the undersigned was working with an independent journalist,

Shara Michelle (Wolfe), who had been following the story and compiling records and

documents since when the plaintiff began targeting Preston and Cook in May of 2023.

On June 2, 2024, as part of the effort to find counsel for Preston and Cook for this

action, at the undersigned’s request Ms. Wolfe wrote a synopsis of the plaintiff’s

stalking, use of YouTube and litigation to destroy the lives of Preston and Cook:



        Shara Michelle <freedompublicpress2019@gmail.com>      Sun, Jun 2,
                                                       2024, 1:29 PM
        to me

        Attorney Bruce Matzkin,

        A brief synopsis of this case:

          I have been collecting records and evidence in this case for approximately a year. This case with
Lynette Michelle Preston began during the elections of 2023. The public campaign against Miss Preston
began approximately in May 2023, a year ago and has extended to other YOUTUBE channels. I can
chart the timeline and facts in this case well.
          I have collected the public record of most reports involving Jeremy Hales and Miss Preston from
the Levy County Sheriff agency.
          I have and will spend hours collecting video evidence of defamation done appearingly with
malice.
          There have been hundreds of calls to multiple agencies incited by Jeremy Hales and Martha
George Rizk on their show "What The Hale$". Very far reaching with nearly a million subscribers and 1/4
billion views. These included "Child Protection Agency" several times involved, with all cases being
closed UNFOUNDED. The number of calls that came in to this agency and to the Governor were so
extreme the Governor became involved.
          There are hundreds of videos on the subject of Otter Creek with most involving Miss Preston with
her photo in the thumbnails and titles such as: "Neighbors From Hell", "Lawsuits And Updates", "Bad
Neighbors Exposed", "She's Going To Jail", "Bomb Threats Called In During Court" , "Bad Neighbors
Drug Dealer", "Arrests Coming Soon", "Has A Dark History-Evil", "Finally Getting Arrested", etc.. (I have
attached a couple screenshot examples of video Thumbnails).
          Mr Hales has stated on his show numerous times "I am going to get her gone one way or
another", "She will be in jail forever", "The Town is getting ready to Lynch her", "She is a child abuser",
"Her property is a dump", "I am going to buy her property's mineral rights", "She is going to lose
everything she owns", "They are very dangerous people", "I have armed security waiting outside if she
shows up to town hall", and so many more defamatory and terrifying statements. Which I can fully
document from hours of video coverage. These segments appear to be scripted with intent and malice
and with a goal he states regularly.
          "What The Hale$" held a fundraiser to pay for an attorney to take Miss Preston's child raising
nearly 70,000 on April 7, 2024.

                                                     5
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          Jeremy Hales entered "Winn-Dixie" and spoke to the manager dissolving Miss Preston's
partnership with Winn-Dixie for "produce" for her Tortoise rescue and has destroyed any chance of fund
raising for the rescue causing Miss Preston further hardship.
          Jeremy Hales has contacted the town of Otter Creek and the County to try to have Miss Preston
removed from her land in which she owns and paid cash for in full stating to the public "she is living there
illegally".
          Jeremy Hales and Martha George Rizk have accused Miss Preston of stalking them to Otter
Creek for money. Miss Preston has lived along the Gulf buying multiple properties, many years before Mr
Hales ever arrived and she had tens of thousands in cash when she arrived and purchased her
beautiful property in Otter Creek along the Gulf where she has lived since 1997.
          Miss Preston's liberties have been essentially stolen from her with falsified accusations of things
she never did, according to police reports to prove her innocence.
          There are multiple incidents in which Mr Hales AND Martha George Rizk have accused Miss
Preston and Mr Cook of pointing and firing guns and he has held open discussions at public town hall
meetings to claim these accusations while filming his show to "warn" the residents of their "dangerous
neighbors".
          The totality of damages and public harm to Miss Preston's entire life is immeasurable.
          Mr Hales has stated his intention to take everything Miss Preston owns and "make all three of
them homeless", (Miss Preston, Mr Cook and their 4 year old child).
          Miss Preston enjoys being part of and also was seeking work as a clerk or council member at her
town hall and Mr Hales has created a PO in the state of Ohio which he has made effective in the state of
Florida isolating Miss Preston, away from the town hall entirely and each time she leaves her property at
all, even to go grocery shopping, she is at great risk of being followed with new "contempt of court
charges" in which police reports say she did not commit.
          There have been cameras placed strategically across the street from Miss Preston's home
recording her and her property 24/7.
          She is fearful for her child in her own yard. The family has become isolated and Jeremy Hales is
threatening a "tidal wave" "a domino effect" and a "tsunami" upon them up ahead. [ 8]
          This is the most egregious "cyber stalking" case I have ever witnessed with many having stated
with malice and motives.
          I will do all the evidence collection that will include hours and hours of documented video
evidence. There are letters available from "CPS" showing all cases closed UNFOUNDED. And
police reports.
          There are public official witnesses including the former Mayor of Otter Creek and multiple council
members and residents.
          Jeremy Hales and Martha George Rizk have doxxed Mis Preston's home address, phone
number, and videos of her property ongoing and full background of names and other information
exposing the family to security risk and has also published photos of her innocent 4 year old child and her
full name, in front of hundreds of thousands of viewers while encouraging the crowds to "save the child",
"save the animals", "call authorities" while inciting hate.
          Jeremy Hales, his business partner Martha George Rizk, and multiple employees regularly film
Miss Preston's property and family ongoing.
          Jeremy Hales and Martha George Rizk accuse Miss Preston of "stalking" she has not
committed all while Miss Preston is the one stalked ongoing. Please refer to attached screenshots.
          Thank you for your kind help and attention,

        Shara Michelle

8
  This came from a video on May 30, 2024 in which the plaintiff counted on his fingers the legal
matters in which he had entangled the defendants: “They're already in Ohio court they're
headed back to Ohio court for another contempt of court hearing they're in County Court in
Florida they're in federal court they're headed to family court in Florida because the whole
adoption is being contested and that's just the beginning the tidal wave the tsunami is coming
for them.”


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       No Florida counsel could be found to represent the defendants, and so the

undersigned chose to complete the steps for admission pro hac vice, with the plan to file

dispositive motions to try to have the case dismissed without trial. The undersigned

believed, and believes, the claims are frivolous – the lawsuit is based on claims that

were contrived for generating YouTube content to feed the “Bad Neighbors” YouTube

saga – and that the case should be dismissed on summary judgment when that motion

is filed as contemplated by the Court in Doc # 81.9

       Since then, the undersigned’s and his wife’s lives have been turned upside down

from the plaintiff, his YouTube surrogates and social media followers harassing and

defaming them, along with the plaintiff’s counsel’s abuse of this litigation to generate

YouTube content. Doc #s 104/105/114/116 (being refiled together) and 117 show some

of the ways he has multiplied proceedings and vexed the undersigned with constant

threats of sanctions, false accusations, and contrived motions (i.e., # 96, #s 85 & 86, #s

73-77) which serve the dual aims of consuming time and generating litigation-related

content for the plaintiff and other YouTube channels profiting from his storylines.


9
    The “extortion” claims have already been dismissed (Doc # 63) because the allegations
were based on non-actionable statements falsely labeled “extortion.”
    He has no evidence of any actions by either defendant to tortiously interfere with any
customer or contract (as the Court predicted in Doc # 63, fn. 5). He has not disclosed a lost
income expert to connect defendants’ alleged actions to loss of income.
    There are not, and never were, “online posts calling me a child predator” (# 8-1, para. 19).
    There is no evidence of publication of handwritten signs other than the plaintiff himself
publishing them on YouTube to promote the storyline. He hasn’t disclosed a traffic study expert.
    Two of the witnesses who discovered the signs (see Doc #s 24-2, 24-3) stated publicly they
could not be read from the road, and the witness who “collected” the signs (Doc # 24-4) literally
ran away to avoid service of a subpoena. The plaintiff admitted in his deposition that none of
the three believed the signs, rebutting any damages for per se defamation.
    No other statements attributed to the defendants are remotely actionable by a public figure.
    Notably, two of the sign witnesses, Stephen and Therese Granger (Doc #s 24-2, 24-3),
recently sued Preston in state court, also represented by Atty. Shochet, one week after
Preston voluntarily withdrew an action for their invasion of her property to record video for the
plaintiff’s YouTube storyline that Preston’s child lives in danger and needs to be “saved.”
                                               7
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         The plaintiff stalked the undersigned’s wife resulting in her resigning from
         a job, and mocked the death of his children’s biological father.

         On April 2, the plaintiff posted a live video targeting the undersigned’s wife

including stating that he is in “communications with her teaching employer,” and

mocking the undersigned’s children about the death of their biological father during a

work trip in 2015 and now having the undersigned as their father: 10

      The undersigned also has family obligations, couldn't be gone for 3 days. There is no
      possible way to make all necessary arrangements for his family members’ needs to
      be covered in his extended absence. The undersigned's wife -- let's just be clear,
      you... [laughs] somebody married him? Maybe, okay, maybe maybe, but probably
      not for very long. After he's gotten himself in this situation, I mean, this is just mind-
      blowing. The undersigned's wife has a rotor cuff tear, which she requires the
      undersigned’s assistance with many daily activities. That's interesting, since she's a
      yoga instructor and we actually have her schedule. Huh, whoooaaa, you mean now
      she's teaching yoga with a torn rotator cuff, but is Deuce there teaching yoga for her
      huh? Mm, interesting, as a matter of fact, we know her employer. That's all yeah,
      there's communications with her teaching employer as well. He then goes on to say
      the undersigned’s children’s late biological father passed away on a work trip in 2015
      when they were 5 and 11 years old, oh, let's start the sympathy. By the way I want
      to be very clear, if this is true of these children my sympathies to you, I am very sorry
      for your loss and I'm very sorry for the lack of a man that is filled in for your actual
      father and I'm sure you're sorry about it as well. The undersigned adopted them after
      marrying their mother, which I was just telling George, I was like I KNEW no woman
      would ever have a child with him, not even his. Okay, any extended work trip taking
      their father away from home creates anxiety. That's odd, so he files, and now he's
      worried about anxiety, which, by the way, in 2015, they were 11 and 5 okay, so we're
      in 2025, now they are 21 and 15, I'm pretty sure the 21-year-old can figure this out.
      This is sick. This is a sick horrific use and abuse of his own children in the court
      system on this sick footnote.

         In the closing seconds are shown five photographs of the undersigned’s wife.

This was just the latest, but most outrageous, instance of the plaintiff talking publicly

about the undersigned’s wife and children to retaliate for the undersigned being counsel


10
     https://drive.google.com/file/d/1UMcrgQVhdVJakRHxbF9if7PrYSkYC0yE/view?usp=drive_link


                                                  8
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for Preston and Cook. It is pure harassment and cyberstalking intended to retaliate

against and intimidate the undersigned.

       Being alerted to this video and viewing it was so upsetting to the undersigned’s

wife that she emailed her teaching employer resigning without advance notice. See

Exhibit 4.11 Later that day she made a report to the Malden, Massachusetts police.

       The plaintiff’s attacks against the undersigned using his YouTube platform have

been relentless and have affected his entire life and practice outside of this litigation.

See Exhibit 5, some of the video thumbnails depicting and attacking the undersigned.

       By design of the plaintiff and his counsel, this case has consumed the

undersigned’s time and life. It has prevented him from being able to maintain his

regular, income-generating law practice. It has taken a disproportionate amount of time

from his family. Now, it has caused the undersigned’s wife to leave her teaching job.

       Other YouTube channels profiting from the content generated by the plaintiff’s

storylines join in attacking the undersigned and the defendants. For example, a

YouTube associate of the plaintiff purposely sabotaged the undersigned’s Avvo rating

and then openly bragged about it on social media. See Exhibit 6.12 A number of other




11
  The undersigned and his wife will be further mocked for this by the plaintiff and other
YouTube channels profiting from his content, and in Facebook groups of the plaintiff’s
supporters.
12
  Tat Greaves, a non-U.S. citizen, migrated to Levy County in the fall of 2024 specifically to
insinuate himself into the events there and has shown up in locations to stalk Preston, Cook and
Preston’s child to create video content for YouTube. His YouTube channel, “DJ Rattis,” consists
of parody songs about the defendants and the undersigned, and a daily “Dear Diary” series
using Preston’s AI-generated voice to mock and humiliate her for profit. See Exhibit 7.
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channels focus their content largely, and some exclusively, on the plaintiff’s “Bad

Neighbors” storyline and related litigation-generated content. See Exhibit 8.13

       This has all been in retaliation for standing up for defenseless, involuntary

litigants being targeted by a disturbed individual with a lot of money and a lawyer willing

to abuse litigation to feed his client’s YouTube content, and who is bent on destroying

their lives for the entertainment of his YouTube followers and his own profit.



       The undersigned’s withdrawal can be postponed pending summary
       judgment.

       The undersigned and the defendants request that the Court postpone issuing an

order in response to the withdrawal of counsel (Doc # 126) until after the outcome of a

to-be-filed motion for summary judgment (outlined above in footnote 9). All of the

undersigned’s litigation work was in preparation for a summary judgment motion on any

claims not dismissed under FRCP 12(b). With discovery complete and the ability of the

plaintiff and his counsel to abuse discovery and depositions cut off, the undersigned can

focus on the defendants’ summary judgment motion and looks forward to filing it.




13
  One of the most enduring and popular content sources for the plaintiff and especially the
other channels profiting from his litigation-related content, was Atty. Shochet’s Zoom deposition
of Preston in January, 2024. Exploiting Preston’s Levy County state court action for a
restraining order against the plaintiff for stalking and while she was pro se, Atty. Shochet took a
seven-hour videotaped deposition of Preston remotely, with Preston at home attempting to
monitor her child while being harangued and harassed by Atty. Shochet throughout. This
deposition has been played, replayed and rehashed for the entertainment and profit of the
YouTube channels allowed by the plaintiff to use it, all for the purpose of mocking and
humiliating Preston. See Exhibit 9, the video thumbnails promoting the plaintiff’s broadcast of
the deposition video over eight straight nights in September 2024. A short clip is found here,
with the plaintiff mocking Preston at the end:
https://drive.google.com/file/d/1U-QLSdAHBHXe0vmtWaFxjGShZWokWjN0/view?usp=sharing
                                                10
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       Local counsel can be partially funded by any attorney fees awarded under
       28 USC 1927.

       In accordance with the Court’s order (Doc # 118) the defendants will file a single

motion for attorneys’ fees under 28 USC 1927 based on multiple grounds.

       The undersigned’s defense of the defendants has prevented the plaintiff from

carrying out his stated plan (May 28, 2024 video quoted above) to use this litigation to

take the defendants’ property without them having a lawyer to defend them against this

scheme. If the case is not dismissed on summary judgment, local counsel will be

needed for the defendants for trial, as the undersigned would be unable to neglect his

family and law practice for weeks, if not months, to try this case as a solo practitioner

with no support staff or budget and living so far away.

       If the Court agrees that the plaintiff’s counsel has abused litigation to multiply

proceedings for YouTube content so that an award of attorney fees under 28 USC 1927

is warranted, the defendants believe it would be equitable to order those attorney fees

be paid to the Court to contribute to the cost of appointed counsel for the defendants.

       If pro se, the defendants may stipulate to the signs, simply to obviate a climactic,

sensational show-trial with battling junk-science experts, to deprive the plaintiff of the

ultimate content bonanza that he intended a trial of this case to be for his YouTube

channel and others who’ve ridden the gravy train of his “Bad Neighbors” litigation saga.

       There could then be a hearing in damages: How much should the defendants

owe for three people seeing the signs who, the plaintiff admits, didn’t believe them?

This would seem much less costly than a trial over who wrote the signs. A failure of

damages would still result in a termination in favor of Preston and Cook such that would

enable them to sue the plaintiff and Atty. Shochet for vexatious litigation based on this

                                             11
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action, among other causes of action14 for being used as (A) involuntary characters in

the plaintiff’s YouTube storyline (see Exhibit 1); (B) involuntary subjects of physical

stalking in their daily lives (see Exhibit 2); and (C) involuntary litigants in this and

several other courts (see Exhibit 3).

       The plaintiff admits abusing litigation to inflict financial harm.

       “A lawsuit isn't to win a lawsuit. It's to make you spend all your money on a
lawyer and bankrupt you. That's what the win is. I could care less if I win in court. If I
win in court situation, my goal is to make sure you have no money. That is the goal of
the lawsuit.”
       -- Public statement of the plaintiff, read aloud during his Dec. 19 deposition. 15

       This lawsuit was contrived by the plaintiff to create an ongoing source of

compelling litigation-related YouTube content about the “Bad Neighbors” federal court

lawsuit. The “related” action naming the undersigned, the current defendants and

seven others, is also contrived for the same purpose. (The plaintiff recently told his

YouTube followers there’s a “flipper” among the 10 defendants, setting off a content

frenzy.) This is the meaning of “POLAMOP”: the purposeful protraction of litigation and

multiplication of proceedings by the plaintiff and his counsel for YouTube content. 16



14
  Claims will include the plaintiff violating 18 USC 2261A (cyberstalking) and 2261B
(cyberstalking of a minor), invasion of privacy, defamation, and other claims.
15
    The plaintiff has made similar remarks on numerous occasions in reference to various
litigation targets he was promoting for YouTube content at the times:
https://drive.google.com/file/d/1O30xmcfx_mKS4ZaVj4yGTuf72jCi8HC3/view?usp=sharing

16
  The undersigned understands that the plaintiff’s counsel showed a screenshot of a
“POLAMOP” website with his photo wearing a “Polamop” crown. The defendants and the
undersigned have no control over what any of the thousands of followers of this case do, and it
appears the purpose of the plaintiff’s counsel in raising this website was to again inflame the
Court, despite making no claim of a connection to the undersigned or defendants. In any event,
a single photo of Atty. Shochet associating him with “POLAMOP” as the lawyer engaging in that
enterprise with the plaintiff, pales compared to what the plaintiff has done to harass, smear and
retaliate against the undersigned for defending the targets of his litigation-for-content scheme.
                                               12
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                                       Conclusion

       The undersigned’s pro bono representation of indigent, involuntary litigants being

aggressively sued by the plaintiff on contrived claims has taken a tremendous toll on the

undersigned’s family, time, law practice, and income. This has been the strategy and

design of the plaintiff and his counsel, one using YouTube to harass and stalk the

undersigned and his family, the other strategically using this litigation by multiplying

proceedings and consuming as much of his time as possible.17

       Defendants Preston and Cook, the undersigned and his family are held hostage

to this lawsuit for as long as the plaintiff and his counsel can purposefully exploit it to

harass and vex them for YouTube content.

       In determining the sanctions to be imposed, they hope the Court will consider the

information and exhibits in this response showing that this litigation has been abused by

the plaintiff and his counsel – at the expense of the defendants, the undersigned and

the Court – to generate YouTube content for entertainment and the plaintiff’s profit.



       Defendants Preston and Cook, by:

       /s/ Bruce Matzkin
       51 Pleasant Street, # 72
       Malden, MA 02148
       857-242-8614
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   Taking it to the next level, they tried to add the undersigned as a defendant to the present
case (Doc # 47) and when that was denied (Doc # 58), they named the undersigned as a
defendant in their second lawsuit recently filed. In filing that action Atty. Shochet doxed the
undersigned’s and nine co-defendants’ home addresses on the public docket, leading to it being
shared on Facebook which is what led to the undersigned’s “scumbag” email used in # 96 to
inflame the Court. See Exhibit 10. One comment under the post about one of the defendants
whose address was doxed was, “She needs to eat a bulle*” (see third page of exhibit).
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                                  CERTIFICATION

      I hereby certify that on April 9, 2025, a copy of the foregoing was emailed to
counsel of record for the plaintiff:

Randall Shochet, Esq
Shochet Law Group
Attorneys for Jeremy B. Hales
409 N. Main Street Trenton, FL 32693
rshochet@shochetlaw.com



      /s/ Bruce Matzkin




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